                                                        Case 2:15-cr-00018-APG-VCF             Document 177        Filed 06/26/18     Page 1 of 4




                                                        1   RICHARD E. TANASI, ESQ.
                                                            Nevada Bar No. 9699
                                                        2   TANASI LAW OFFICES
                                                        3   601 S. Seventh Street, 2nd Floor
                                                            Las Vegas, NV 89101
                                                        4   Telephone: (702) 906-2411
                                                            Facsimile: (866) 299-5274
                                                        5   Email: rtanasi@tanasilaw.com
                                                        6   Attorney for Defendant

                                                        7
                                                                                       UNITED STATES DISTRICT COURT
                                                        8
                                                                                               DISTRICT OF NEVADA
                                                        9
                                                            UNITED STATES OF AMERICA, |                           2:15-cr-00018-APG-VCF
                                                       10
                                                                                      |
                                                            Plaintiff,                |                           STIPULATION AND ORDER
TANASI LAW OFFICES




                                                       11
                                                                                      |                           TO CONTINUE SENTENCING
                     702-906-2411 • Fax 866-299-5274




                                                       12                                                         HEARING (First Request)
                       601 S. Seventh St., 2nd Floor
                         Las Vegas, Nevada 89101




                                                            v.                                   |
                                                       13                                        |
                                                            LORRAINE RIDDIOUGH,                  |
                                                       14                                        |
                                                            Defendant.                           |
                                                       15
                                                       16          IT IS HEREBY STIPULATED AND AGREED, by and between the United States of

                                                       17   America, by and through Dayle Elieson, United States Attorney, and Dan Cowhig, Assistant
                                                       18
                                                            United States Attorney, and LORRAINE RIDDIOUGH, by and through her attorney, Richard
                                                       19
                                                            E. Tanasi, Esq., that the Sentencing Hearing in the above-captioned matter, now scheduled for
                                                       20
                                                            August 9, 2018, at the hour of 10:00 a.m., be vacated and continued to a time convenient for the
                                                       21
                                                       22   Court after October 8, 2018.

                                                       23          Pursuant to General Order No. 2007-04, this Stipulation is entered into for the following
                                                       24
                                                            reasons:
                                                       25
                                                                   1.      The parties need more time to prepare for sentencing, specifically in that
                                                       26
                                                            Defendant needs time to gather 18 USC 3553 related materials. Additionally, counsel for the
                                                       27
                                                            Defendant has two State capital cases set for September (State v. Brown and State v. Daniels).
                                                       28
                                                            State v. Brown is older and likely to go forward.

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                                                        2              2.     Ms. Riddiough is out of custody and does not object to this continuance.
                                                        3              3.     The additional time requested herein is not sought for purposes of delay.
                                                        4
                                                                       4. Additionally, denial of this request for continuance could result in a miscarriage of
                                                        5
                                                            justice.
                                                        6
                                                                       WHEREFORE, the parties respectfully request that this Honorable Court accept the
                                                        7
                                                            Stipulation and enter an Order as set forth below, continuing the sentencing hearing for date
                                                        8
                                                            convenient to the Court, after October 8, 2018.
                                                        9
                                                                       DATED this 20th day of June, 2018.
                                                       10
TANASI LAW OFFICES




                                                       11
                     702-906-2411 • Fax 866-299-5274




                                                            DAYLE ELIESON
                                                       12
                       601 S. Seventh St., 2nd Floor




                                                            United States Attorney
                         Las Vegas, Nevada 89101




                                                       13
                                                            /s/
                                                       14   DAN COWHIG
                                                            Assistant United States Attorney
                                                       15
                                                            501 Las Vegas Blvd. South
                                                       16   Suite 100
                                                            Las Vegas, NV 89101
                                                       17   Attorney for the UNITED STATES
                                                       18
                                                            TANASI LAW OFFICES
                                                       19
                                                       20
                                                            /s/
                                                       21   RICHARD E. TANASI, ESQ.
                                                            601 S. Seventh Street, 2nd Floor
                                                       22
                                                            Las Vegas, NV 89101
                                                       23   Attorney for Defendant

                                                       24   ///
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                                                                                      UNITED STATES DISTRICT COURT
                                                        2
                                                                                             DISTRICT OF NEVADA
                                                        3
                                                            UNITED STATES OF AMERICA, |                         2:15-cr-00018-APG-VCF
                                                        4                             |
                                                            Plaintiff,                |                         ORDER ON STIPULATION
                                                        5                             |
                                                            v.                        |
                                                        6   LORRAINE RIDDIOUGH,       |
                                                                                      |
                                                        7   Defendant.                |
                                                        8
                                                                   This matter coming before the Court on Stipulation to Continue Sentencing Hearing, the
                                                        9
                                                            Court having considered the matter, and good cause showing, the Court accepts the Stipulation.
                                                       10
                                                                   WHEREFORE, IT IS HEREBY ORDERED, that the Sentencing Hearing in the
TANASI LAW OFFICES




                                                       11
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                                                       12   above-captioned matter, now scheduled for August 9, 2018, at the hour of 10:00 a.m., be
                       601 S. Seventh St., 2nd Floor
                         Las Vegas, Nevada 89101




                                                       13                             October 25, 2018 at 9:00 a.m. in Courtroom 6C.
                                                            vacated and continued to __________________________________.
                                                       14
                                                       15
                                                                                                                __________________________________
                                                       16                                                       UNITED STATES DISTRICT JUDGE

                                                       17
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                                                        1
                                                        2                                   CERTIFICATE OF SERVICE
                                                        3          I HEREBY CERTIFY that on the 22nd day of June, 2018, the undersigned served the
                                                        4   foregoing STIPULATION AND ORDER on all counsel of record herein by causing a true
                                                        5   copy thereof to be filed with the Clerk of Court using the CM/ECF system, which was served
                                                        6   via electronic transmission by the Clerk of Court pursuant to local order.
                                                        7
                                                        8
                                                        9                                         /s/
                                                                                                  An employee of TANASI LAW OFFICES
                                                       10
TANASI LAW OFFICES




                                                       11
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                                                       12
                       601 S. Seventh St., 2nd Floor
                         Las Vegas, Nevada 89101




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